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13
                           UNITED STATES DISTRICT COURT
14                        CENTRAL DISTRICT OF CALIFORNIA
15                              WESTERN DIVISION
16                                            ) No. 2:20-cv-05098-KK
     BRENDA JOYCE FRANK,
                                              )
17                                            ) [PROPOSED]
                                              )
18         Plaintiff,                         ) JUDGMENT OF REMAND
                                              )
19             v.                             )
     ANDREW SAUL,                             )
20                                            )
     Commissioner of Social Security,         )
21                                            )
           Defendant.                         )
22                                            )
                                              )
23
24         The Court having approved the parties’ Stipulation to Voluntary Remand
25   Pursuant to Sentence 4 of 42 U.S.C. § 405(g) and to Entry of Judgment (“Stipulation
26   of Remand”) lodged concurrent with the lodging of the within Judgment of Remand.
27         IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the above-
28
     captioned action is remanded to the Commissioner of Social Security for further
     ///
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 1   proceedings consistent with the Stipulation of Remand.
 2
     DATED: April 21, 2021
 3                                        HON. KENLY KIYA KATO
 4                                        UNITED STATES MAGISTRATE JUDGE
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